

People v Lundy (2018 NY Slip Op 04166)





People v Lundy


2018 NY Slip Op 04166


Decided on June 8, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, CARNI, LINDLEY, AND WINSLOW, JJ.


623 KA 16-01174

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vEDWARD LUNDY, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






FRANK H. HISCOCK LEGAL AID SOCIETY, SYRACUSE (NATHANIEL V. RILEY OF COUNSEL), FOR DEFENDANT-APPELLANT. 
WILLIAM J. FITZPATRICK, DISTRICT ATTORNEY, SYRACUSE (JAMES P. MAXWELL OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Onondaga County Court (James H. Cecile, A.J.), rendered April 28, 2015. The judgment convicted defendant, upon his plea of guilty, of burglary in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously modified as a matter of discretion in the interest of justice by directing that the sentence shall run concurrently with the sentences imposed under superior court information Nos. I-13-0479-1 and I-13-0480-1, and as modified the judgment is affirmed.
Same memorandum as in People v Lundy ([appeal No. 1] — AD3d — [June 8, 2018] [4th Dept 2018]).
Entered: June 8, 2018
Mark W. Bennett
Clerk of the Court








